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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                CRIMINAL 13-0296CCC
 1) MIGUEL A. FERNANDEZ-TORRES
 2) LUIS R. FIGUEROA-CHEVERE
 Defendants


                                          ORDER

       Having considered the Report and Recommendation filed on November 4, 2013

(docket entry 68) on a Rule 11 proceeding of defendant [2] Luis R. Figueroa-Chévere

before U.S. Magistrate Judge Camille L. Vélez-Rivé on October 22, 2013, to which no

objection has been filed, the same is APPROVED. Accordingly, the plea of guilty of

defendant is accepted. The Court FINDS that his plea was voluntary and intelligently

entered with awareness of his rights and the consequences of pleading guilty and contains

all elements of the offense charged in the indictment.

       This case was referred to the U.S. Probation Office for preparation of a PreSentence

Investigation Report since October 22, 2013.        The sentencing hearing is set for

February 26, 2014 at 4:30 PM.

       The U.S. Probation Officer is reminded that, should any objections be raised by

defendant to the PreSentence Report, the Addendum to said PreSentence Report must

specifically identify any unresolved objections, the grounds for the objections, and the

U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The

party that raised the unresolved objections shall, within twenty-four (24) hours after the

Addendum is disclosed, state in writing whether it will insist that the unresolved objections
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be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal

of the unresolved objections.

      SO ORDERED.

      At San Juan, Puerto Rico, on December 20, 2013.



                                        S/CARMEN CONSUELO CEREZO
                                        United States District Judge
